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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF LOUISIANA

IN RE: CHINESE-MANUFACTURED
DRYWALL PRODUCTS LIABILITY
LITIGATION                                                            MDL NO. 2047

This Document Relates to:

Greg Descher, et ux. V. Knauf GIPS KG, et al.
Case No. 17-17500



                                   AMENDED COMPLAINT
                                 (JURY TRIAL REQUESTED)



       Plaintiff, GREG & MEREDITH DESCHER and PENNY PARKER, bring this action on

their own behalf and on behalf of a Class of persons defined below against Defendants, KNAUF

GIPS KG, KNAUF PLASTERBOARD TIANJIN CO., LTD., and Fictitious Defendants A-Z

(collectively "Defendants"), and for their Amended Complaint allege, upon information and

belief and based on the investigation to date of their counsel, as follows:

                                        INTRODUCTION

       1.     Plaintiffs bring this class action on behalf of themselves and all other similarly

situated owners of homes in the State of Mississippi that were built or rebuilt using drywall

manufactured, processed, distributed, delivered, supplied, inspected, marketed and/or sold by

Defendants, Knauf Gips KG ("Knauf Gips"), Knauf Plasterboard Tianjin Co., Ltd. ("Knauf

Tianjin"), and Fictitious Defendants A-Z.

       2.      The drywall manufactured, processed, distributed, delivered, supplied, inspected,

marketed, and/or sold by Defendants to build or rebuild the homes of Plaintiffs and the Plaintiff

Class Members is defective and emits levels of sulfur, methane and/or other volatile organic
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chemical compounds that cause corrosion of HVAC coils and refrigerator units, certain electrical

wiring and plumbing components, and other household items, as well as create noxious, "rotten

egg-like" odors. Defendants' defective gypsum drywall further causes allergic reactions,

coughing, sinus and throat infection, eye irritation, respiratory problems and other health

concerns. Defendants’ drywall was inherently defective and not suitable for its intended use.

                                        THE PARTIES

       3.      Plaintiffs, GREG & MEREDITH DESCHER, own a home located in Ocean

Springs, Mississippi located at 5724 Via Toscana. Plaintiff's home was built by Fritz

Development LLC using Defendants' defective drywall.

       4.      Plaintiff, PENNY PARKER, owns a home located in Bay St. Louis, Mississippi,

located at 54 Good Street. Plaintiff’s home was rebuilt after Hurricane Katrina by J & B Designs

using Defendants’ defective drywall which was obtained from Baiely Lumber & Supply Co.

       5.      Upon information and belief, Defendant, Knauf Gips, is a German corporation

doing business in the State of Mississippi. One of Knauf Gips' affiliates, Gebr. Knauf

Verwaltungsgsellschaft KG, owns a substantial stake in Defendant, USG. Knauf Gips is a

leading manufacturer of building materials and systems. Defendant, Knauf Gips, together with

its affiliates, including Defendant, Knauf Tianjin, provides building materials and systems to

customers in over 50 countries, including the United States. Upon information and belief, at all

material times hereto, Defendant, Knauf Gips, supervised, operated, trained and otherwise

exercised control and/or had the right to control the operations of Defendant, Knauf Tianjin, and

its agents, apparent agents and employees. Defendants, KNAUF GIPS and KNAUF TIANJIN,

may be served with process through their registered agent, Robert H. Claxton, One Knauf Drive,

Shelbyville, IN 46176.




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        6.     Among other things, in 1995, Knauf Gips introduced its advanced production

techniques and technology into China. From 1997 through 2001, Defendant, Knauf Gips,

established three plasterboard plants in China located in Wuhu, Tianjin and Dongguan. The

product quality of all Defendant, Knauf Gips', plants in China, including Defendant, Knauf

Tianjin, are strictly controlled according to the requirements of Knauf Gips' headquarters in

Germany. Defendant Knauf Gips' sales and technical support teams support Knauf Gips'

businesses throughout the world, including Defendant, Knauf Tianjin, in China. Defendant,

Knauf Tianjin, and its employees are the actual and/or apparent agents of Defendant, Knauf

Gips.

        7.     Upon information and belief Knauf Gips, together with its affiliates and/or actual

or apparent agents, including Knauf Tianjin, manufactured, sold, distributed, marketed and

placed into the stream of commerce gypsum drywall with the expectation that the drywall would

be purchased by thousands of consumers, if not more, within the State of Alabama. Knauf

Tianjin and/or Knauf Gips have continuously and systematically distributed and sold drywall to

numerous purchasers in the State of Mississippi and their drywall was installed in numerous

homes in Mississippi. Knauf Tianjin and/or Knauf Gips manufactured and sold, directly and

indirectly, to certain suppliers in the State of Mississippi, defective gypsum drywall that was

installed in Plaintiff's home and the homes of the Plaintiff Class Members. Moreover, Knauf

Gips and/or Knauf Tianjin purposefully availed themselves of the jurisdiction of this Court by

selling and shipping substantial quantities of drywall into the State of Mississippi.

        8.     Upon information and belief, Knauf Plasterboard Tianjin Co., Ltd., is a Chinese

corporation with its principal place of business located at North Yinhe Bridge, East Jingjin Road,

Beichen District, Tianjin, 300400 P.R.C., and at all times material, conducted business in the




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State of Alabama. Knauf Tianjin is involved in the manufacturing and sale of gypsum drywall.

Defendant, Knauf Tianjin is the actual and/or apparent agent of Defendant, Knauf Gips. Upon

information and belief, Knauf Tianjin individually and/or together with and at the direction and

control of its principal, Knauf Gips, manufactured, sold, distributed, marketed and placed within

the stream of commerce gypsum drywall with the expectation that the drywall would be

purchased by thousands of consumers, if not more, within the State of Alabama. Defendants,

Knauf Tianjin and/or Knauf Gips, have continuously and systematically distributed and sold

drywall to numerous purchasers in the State of Alabama and their drywall was installed in

numerous homes in Alabama. Defendants, Knauf Tianjin and/or Knauf Gips, manufactured and

sold, directly and indirectly, to certain suppliers in the State of Alabama defective gypsum

drywall that was installed in Plaintiff’s home and the homes of the Plaintiff Class Members.

Moreover, Knauf Gips and/or Knauf Tianjin purposefully availed themselves of the jurisdiction

of this Court by selling and shipping substantial quantities of drywall into the State of Alabama.

        9.      Fictitious Defendants A through Z, are various unidentified individuals and/or

entities, presently unknown to the Plaintiffs, who may be responsible, in part for the conduct

complained of herein for the manufacture and distribution of the dry wall in question which

resulted in injuries to the Plaintiffs. Plaintiffs are making diligent inquiries to determine the

identity and whereabouts of Fictitious Defendants A through Z. Plaintiffs will, with leave of

Court, replace Fictitious Defendants A through Z as named Defendants in this action by

amendment or supplemental pleadings in accordance with Rule 15 of the Mississippi Rules of

Civil Procedure, as soon as practical as they are identified, with their service relating back to the

original date of the filing of this action.




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                                  JURISDICTION and VENUE

           10.     Plaintiffs hereby incorporate by reference each of the preceding allegations as

though fully set forth herein.

           11.     This action is within the original jurisdiction of this Court by virtue of 28

U.S.C. §1332(d)(2) and the Class Action Fairness Act. Plaintiffs and Defendants are citizens of

different States and the amount in controversy of this Class action exceeds five million dollars

($5,000,000.00), exclusive of interest and costs.

           12.     Venue for this cause is proper in the Southern District of Mississippi, pursuant

to and in accordance with 28 U.S.C. §1391.

           13.     This Court has personal jurisdiction over Defendants because they are engaged

in substantial and not isolated activity within this State. Additionally, Plaintiffs’ and the Plaintiff

Class Members' causes of action arise from Defendants, Knauf Gips and Knauf Tianjin,

personally or through their agents, causing injury to property within the State of Mississippi

arising out of acts or omissions of Defendants, Knauf Gips, and Knauf Tianjin, outside the State

of Mississippi, and at the time of the injury, products, materials, or things manufactured by

Defendants, Knauf Gips, and Knauf Tianjin, were used and consumed within the State of

Mississippi in the ordinary course of commerce, trade or use.

                                               FACTS

           14.     By reference, each of the proceeding paragraphs are adopted and incorporated

herein.

           15.     On or about March 30, 2015, Plaintiffs, Greg and Meredith Descher,

discovered that their home located at 5724 Via Tascano, Ocean Springs, MS, was constructed




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using contaminated drywall manufactured by Defendants. See attached Exhibit “A” Pro-Lab

Report dated March 30, 2015. See attached Exhibit “B” photographs.

            16.   On or about April 28, 2017, Plaintiff, Penny Parker, realized that her home

which was rebult after Hurricane Katrina, was renovated using contaminated drywall

manufactured by Defendants. See attached Exhibit “C” Home Inspection Building Specialist,

Inc. Report dated April 28, 2017.

                                  GENERAL ALLEGATIONS

            17.     In connection with the construction of homes in the State of Mississippi,

consumers purchased gypsum drywall, either directly or indirectly, from various unidentified

suppliers (collectively, the "Suppliers").

            18.   Upon information and belief, the Suppliers purchased, directly and/or

indirectly, gypsum drywall that was manufactured in China by Defendants Knauf Gips, Knauf

Tianjin and Taishan, and possibly other unknown Chinese manufacturers (collectively, the

"Manufacturers").

            19.   Defendants negligently manufactured, processed, distributed, delivered,

supplied, inspected, marketed and/or sold defective gypsum drywall, which was unreasonably

dangerous in its normal use in that the drywall caused corrosion to HVAC coils and refrigerator

units, certain electrical wiring and plumbing components, and caused allergic reactions,

coughing, sinus and throat infection, eye irritation, respiratory problems and other health

concerns.

            20.   Defendants' drywall was made with waste material from scrubbers on coal-

fired power plants, also called “fly ash.” These materials can leak into the air and emit one of

several sulfur compounds including sulfur dioxide and hydrogen sulfide.




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           21.    When combined with moisture in the air, these sulfur compounds create

sulfuric acid. Sulfuric acid has been known to dissolve solder joints, corrode coils and copper

tubing – creating leaks, blackening coils and causing HVAC systems, appliances, and

refrigerators to fail. Sulfuric acid has also been shown to corrode copper electrical wiring and

plumbing components. Not only does it blacken and corrode coils, it can harm metals such as

chrome, brass and silver.

           22.    Defendants' defective drywall can not only affect HVAC systems and

refrigerators, but can affect and require replacement of all sorts of household items, including but

not limited to microwaves, lighting fixtures, faucets and silverware. In addition, the defective

drywall has a noxious odor, akin to the smell of rotten eggs.

           23.    Upon information and belief, over 10 million square feet of Defendants'

defective drywall was used in the construction of Alabama homes between 2004 and the present.

           24.    Defendants’ actions will require Plaintiffs and the Plaintiff Class Members to

remedy all defective drywall, perform extensive remedial repairs to the homes, and then repair

the damaged property made visible during the performance of these repairs.

           25.    As a result, the Plaintiffs and the Plaintiff Class Members have suffered, and

continue to suffer damages as a result of Defendants' defective drywall and the corrosive effects

of the sulfur compounds. These damages include, but are not limited to, the costs of inspection,

the costs and expenses necessary to replace and remove the defective drywall, adjoining

components, electrical wiring, interior finishes and personal property. See attached Exhibit “D”

Remediation costs for the Descher Plaintiffs. Plaintiffs and the Plaintiff Class Members have also

suffered and continue to suffer personal injuries as a result of Defendants' defective drywall,




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including, but not limited to, allergic reactions, coughing, sinus and throat infection, eye

irritation, respiratory problems and other health concerns.

            26.     Defendants’ actions also resulted in substantial diminution in the value of

Plaintiffs’ and the Plaintiff Class Members’ homes.

                                CLASS ACTION ALLEGATIONS

            27.      Plaintiffs bring this Class action pursuant to Rule 23 of the Federal Rules of

Civil Procedure on behalf of themselves and a Class defined as follows:

                  All persons or entities who own a home in the State of Mississippi
                  which were built or rebuilt using Defendants' drywall and have
                  discovered this fact within three (3) years prior to the filing of
                  this situation after the date of filing.

Excluded from the Class are: (a) any Judge or Magistrate presiding over this action and Members

of their families; (b) Defendants and any person, firm, trust, corporation, or other entity related to

or affiliated with Defendants including, without limitation, persons who are officers, directors,

employees, associates or partners of Defendants; (c) all persons who properly execute and file a

timely request for exclusion from the Class.

            28.      Numerosity:       The Class is composed of thousands of persons

geographically dispersed throughout the State of Mississippi, the joinder of whom in one action

is impractical.

            29.     Commonality:       Questions of law and fact common to the Class exist as to

all Members of the Class and predominate over any questions affecting only individual Members

of the Class. These common legal and factual issues include the following:

       a.         Whether Defendants manufactured and sold a defective product;

        b.      Whether Defendants' conduct in manufacturing and/or distributing their drywall
fell below the duty of care owed by Defendants to Plaintiff and Members of the Plaintiff Class;




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        c.      Whether Defendants concealed adverse information from Plaintiff and the
Plaintiff Class Members about their drywall;

       d.     Whether Plaintiff and the Plaintiff Class Members are entitled to recover
compensatory, exemplary, punitive, and/or other damages as a result of Defendants' negligent
and unlawful conduct;

       e.      What is the proper mechanism for assessing and awarding damages and
administering relief to Class Members, including the relief to reduce the threat of future harm to
Class Members;

        f.     Whether Defendants failed to give adequate and timely warning of the dangers of
their drywall;

       g.     Whether Defendants negligently, recklessly, or intentionally concealed
information about the safety of their drywall from the Plaintiff and Plaintiff Class;

          h.         Whether Defendants are strictly liable in tort for selling a defective product;

          i.         Whether Defendants’ conduct constitutes fraudulent concealment;

          j.         Whether Defendants’ conduct constitutes fraudulent misrepresentation;

          k.         Whether Defendants’ conduct constitutes negligent misrepresentation;

          l.         Whether Defendants’ conduct constitutes negligence;

        m.      Whether Plaintiff Class Members have sustained irreparable harm and whether
they are entitled to equitable relief including restitution and/or refund and, if so, the nature and
extent of such damages;

        n.     Whether the Plaintiff Class is entitled to compensatory damages and, if so, the
nature and extent of such damages;

       o.     Whether Defendants are liable for punitive damages and, if so, how much is
necessary and appropriate to punish them for their conduct, deter others and fulfill the policies
and purposes of punitive and/or exemplary damages;

        p.      How any and all punitive and/or exemplary damages awarded to Plaintiff and the
Plaintiff Class Members should be equitable allocated among the Plaintiff and the Plaintiff Class:

               30.      Typicality: Plaintiffs’ claims are typical of the claims of the Plaintiff Class as

all such claims arise out of Defendants uniform course of wrongful conduct complained of

herein.



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           31.    Adequacy of Representation: Plaintiffs will fairly and adequately protect the

interests of the Members of the Class and have no interests antagonistic to those of the Class.

Plaintiffs have retained counsel experienced in the prosecution of complex Class actions and

construction cases.

           32.    Predominance and Superiority:         This Class action is appropriate for

certification because questions of law and fact common to the Members of the Class predominate

over questions affecting only individual Members, and a Class action is superior to other

available methods for the fair and efficient adjudication of this controversy, since individual

joinder of all Members of the Class is impracticable. Should individual Class members be

required to bring separate actions, this Court and courts throughout the State of Mississippi

would be confronted with a multiplicity of lawsuits burdening the court system while also

creating the risk of inconsistent rulings and contradictory judgments. In contrast to proceeding on

a case-by-case basis, in which inconsistent results will magnify the delay and expense to all

parties and the court system, this class action presents far fewer management difficulties while

providing unitary adjudication, economies of scale and comprehensive supervision by a single

Court.


    EQUITABLE TOLLING OF THE APPLICABLE STATUTES OF LIMITATIONS

           33.    The running of any statute of limitations has been tolled by reason of

Defendants’ fraudulent concealment. Defendants, through failing to disclose a known defect to

Plaintiffs or the Plaintiff Class Members, and misrepresenting their product as safe for its

intended use, actively concealed from Plaintiffs and the Plaintiff Class the true risks associated

with their drywall. Furthermore, even through the existing litigation, Defendants have made no

attempts to notify impacted persons.



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           34.    As a result of Defendants' actions, Plaintiffs and the Plaintiff Class Members

could not reasonably know or have learned through reasonable diligence of the manufacturing

defect, and that Plaintiffs and the Plaintiff Class Members had been exposed to the risks alleged

herein and that those risks were a direct and proximate result of Defendants' acts and omissions.

           35.    Furthermore, Defendants are estopped from relying on any statute of

limitations because of their fraudulent concealment of the defective nature of their drywall.

Defendants were under a duty to disclose the true character, quality, and nature of their products

because this was non-public information over which the Defendants had, and continue to have,

exclusive control, and because Defendants knew that this information was not available to the

Plaintiffs and the Plaintiff Class Members. In addition, the Defendants are estopped from relying

on any statute of limitations because of their concealment of these facts.

           36.    Plaintiffs and the Plaintiff Class Members had no knowledge that Defendants

were engaged in the wrongdoing alleged herein. Because of the fraudulent acts of concealment

of wrongdoing by the Defendants, Plaintiffs and the Plaintiff Class Members could not have

reasonably discovered the wrongdoing at any time.

                                            COUNT I

                                   VICARIOUS LIABILITY
                                (Against Defendant Knauf Gips)

           37.     Plaintiffs, GREG & MEREDITH DESCHER and PENNY PARKER,

individually and on behalf of all others similarly situated, repeat, reiterate and reallege the

preceding paragraphs of this Complaint, with the same force and effect as if fully set forth

herein.

           38.    This is an action for vicarious liability against Defendant, Knauf Gips, for the

negligent and wrongful acts of its actual and/or apparent agent, Defendant, Knauf Tianjin.



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           39.    Defendant, Knauf Gips, established Defendant, Knauf Tianjin, in China and at

all times material, exercised strict control over Defendant, Knauf Tianjin's, operations in

accordance with the requirements of Defendant, Knauf Gips', headquarters in Germany.

Defendant Knauf Gips is, and at all times material was, responsible for implementing and

supervising the quality control measures to be used by Defendant Knauf Tianjin.

           40.    By establishing Defendant, Knauf Tianjin in China, and by exercising strict

control over Defendant, Knauf Tianjin's, conduct and operations, Defendant, Knauf Gips,

acknowledged that Defendant, Knauf Tianjin, would act on its behalf as its actual and/or

apparent agent.

       41. Defendant, Knauf Tianjin, accepted the undertaking to act of Defendant, Knauf

Gips', behalf.

       42. Upon information and belief, Defendant, Knauf Gips, supervises, monitors, and

controls Defendant, Knauf Tianjin's, daily conduct and operations, including the manufacturing,

distribution, marketing and sale of Defendant, Knauf Tianjin's, drywall products. Furthermore,

upon information and belief, Defendant, Knauf Gips, is responsible for establishing,

implementing, supervising and maintaining the quality control mechanisms utilized by

Defendant, Knauf Tianjin.

       43. As such, Defendant, Knauf Gips, is vicariously liable for all of the damages caused

by the negligent and wrongful conduct of its actual and/or apparent agent, Defendant, Knauf

Tianjin.

       44. As a result of Defendants, Knauf Gips', and/or Knauf Tianjin's wrongful conduct,

Plaintiffs and the Plaintiff Class Members have suffered and will continue to suffer damages. As

a result of the foregoing acts and omissions, Plaintiffs and the Plaintiff Class Members require




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and/or will require extensive reconstruction and repairs, and will incur repair and replacement

costs, repairs for appliances, medical expenses, incidental, and other related expenses. Plaintiffs

and the Plaintiff Class Members are informed and believe, and further allege, that Plaintiffs and

the Plaintiff Class Members will in the future be required to pay for additional repairs and/or

replacement costs, and/or medical care, attention, and services.

                                            COUNT II

                        NEGLIGENCE AND NEGLIGENCE PER SE
                     (Against Defendants Knauf Gips and Knauf Tianjin)

       45. Plaintiffs, GREG & MEREDITH DESCHER and PENNY PARKER, individually

and on behalf of all others similarly situated, repeat, reiterate and reallege the preceding

paragraphs of this Complaint, with the same force and effect as if fully set forth herein.

       46. Defendants, Knauf Gips and Knauf Tianjin, had a duty to exercise reasonable care in

manufacturing, processing, distributing, delivering, supplying, inspecting, marketing and/or

selling drywall the Defendants placed into the stream of commerce, including a duty to assure

that the product would perform as intended and would not cause did not cause damage as

described herein.

       47. Defendants, Knauf Gips and Knauf Tianjin, breached their duty by failing to

exercise ordinary care in the manufacturing, processing, distributing, delivering, supplying,

inspecting, marketing and/or selling drywall Defendants placed into the stream of commerce in

that Defendants knew or should have know that the product was defective, did not function as

intended and/or created a high risk of unreasonable, dangerous side effects, including, but not

limited to, corrosion to HVAC coils and refrigerator units, wires, tubes and pipes, and caused

allergic reactions, coughing, sinus and throat infection, eye irritation, respiratory problems and

other health concerns.



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       48. The negligence of the Defendants, their agents, servants, and/or employees,

included, but was not limited to, the following acts and/or omissions:

      a.     manufacturing, processing, distributing, delivering, supplying, inspecting,
   marketing and/or selling drywall without adequately testing it;


      b.    negligently failing to adequately and correctly warn the Plaintiff and Plaintiff
   Class Members and the public, of the dangers of Defendants’ drywall;

      c.    negligently failing to recall or otherwise notify users at the earliest date that it
   became known that said product was, in fact, dangerous and defective;

       d.      negligently advertising and recommending the use of the aforesaid without
   sufficient knowledge as to its manufacturing defect and dangerous propensities;

       e.     negligently representing that Defendants’ drywall was safe for its intended
purpose when, in fact, its safety is questionable;

       f.      negligently manufacturing drywall in a manner which was dangerous to its users;

        g.     improperly concealing and/or misrepresenting information from the Plaintiff and
Plaintiff Class Members and/or the public, concerning the severity of risks and dangers of
Defendants’ drywall and/or the manufacturing defect.

            49. Defendants were negligent in the manufacturing, processing, distributing,

delivering, supplying, inspecting, marketing and/or selling of Defendants' drywall in that they:

      a.     failed to use due care in manufacturing their drywall so as to avoid the
aforementioned risks when the drywall was used for its intended purpose;

       b.      failing to conduct adequate testing to determine the safety of their drywall; and

        c.     failing to warn Plaintiffs and Plaintiff Class Members, prior to actively
encouraging the sale of their drywall either directly or indirectly, orally or in writing, about the
defective nature of the product; and were otherwise negligent.

Upon information and belief, despite the fact that Defendants knew or should have known that

their drywall caused unreasonably dangerous side effects due to its manufacturing defect,

Defendants continued to manufacture, process, distribute, deliver, supply, market and/or sell

drywall to the Plaintiffs, the Plaintiff Class Members and/or the consuming public.



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          50. Defendants knew or should have known that consumers such as Plaintiffs and the

Plaintiff Class Members would foreseeably suffer damage and injury, both physical and

economic, and/or be at an increased risk of suffering damage and injury as a result of

Defendants’ failure to exercise ordinary care, as well as Defendants’ negligent manufacturing

process, as set forth herein.

          50. Defendants’ actions and/or inactions, as set forth herein, by virtue of violating

statutes, ordinances and/or rules and/or regulations, constitutes negligence per se.

          51. Defendants knew or should have known that homeowners such as the Plaintiffs would

foreseeably suffer injury, and/or be at increased risk of suffering injury, including personal

injuries and financial harm, as a result of Defendants’ failure to exercise ordinary care, as well as

Defendants' negligent manufacturing process, as set forth above.

          52. Defendants’ negligence was the proximate cause of Plaintiffs’ and Plaintiff Class

Members’ damages, injuries, harm and economic loss which they suffered and will continue to

suffer.

          53. By reason of the foregoing, Plaintiffs and the Plaintiff Class Members experienced

and/or are at risk of experiencing serious and dangerous side effects, as well as have incurred

financial damage and injury.

          54. As a result of the foregoing acts and omissions, Plaintiffs and the Plaintiff Class

Members require and/or will require extensive reconstruction and repairs, and will incur repair

and replacement costs, repairs for appliances, medical expenses, incidental, and other related

expenses. Plaintiffs and the Plaintiff Class Members are informed and believe, and further allege,




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that Plaintiff and the Plaintiff Class Members will in the future be required to pay for additional

repairs and/or replacement costs, and/or medical care, attention, and services.

                                             COUNT III

                              STRICT PRODUCTS LIABILITY
                      (Against Defendant Knauf Gips and Knauf Tianjin)

       55. Plaintiffs, GREG & MEREDITH DESCHER, individually and on behalf of all others

similarly situated, repeat, reiterate and reallege the preceding paragraphs of this Complaint, with

the same force and effect as if fully set forth herein.

       56. At all times herein mentioned, Defendants manufactured, processed, distributed,

delivered, supplied, inspected, marketed and/or sold drywall used in the construction of

Plaintiffs’ and the Plaintiff Class Members' homes.

       57. Defendants’ drywall was expected to, and did, reach the usual consumers, handlers,

and persons coming into contact with said product without substantial change in the condition

which it was manufactured, processed, distributed, delivered, supplied, inspected and/or sold by

the Defendants.

       58. At those times, the Defendants’ drywall was in an unsafe, defective, and inherently

dangerous condition which was unreasonably dangerous to homes and, in particular, Plaintiffs’

home and the homes of the Plaintiff Class Members.

       59. Defendants’ drywall were so defective in design or formulation or manufacture that

when it left Defendants' hands, the foreseeable risks exceeded the benefits associated with the

design, formulation or manufacture of Defendants’ drywall.

       60. At all times herein mentioned, Defendants’ drywall was in a defective condition and

unsafe, and Defendants knew, had reason to know, or should have known that said product was

defective and unsafe, especially when used in the form and manner as provided by Defendants.



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       61. Defendants knew, or should have known, that at all times herein mentioned

Defendants’ drywall was/is inherently dangerous and unsafe.

       62. At the time of use of Defendants’ drywall by Plaintiffs, Plaintiffs and Members of the

Plaintiff Class utilized the drywall for the purposes and manner normally intended.

       63. Defendants had a duty to create a product that was not unreasonably dangerous for its

normal, intended use.

       64. Defendants’ drywall was manufactured, processed, distributed, delivered, supplied,

inspected, marketed and/or sold in a defective condition by Defendants and was unreasonably

dangerous to its intended users, including Plaintiffs and members of the Plaintiff Class.

       65. Defendants manufactured, processed, distributed, delivered, supplied, inspected,

marketed and/or sold a defective product which created an unreasonable risk to the Plaintiffs’

home and the homes of the Plaintiff Class Members as well as to the health of Plaintiffs and

Members of the Plaintiff Class. Defendants are, therefore, strictly liable for the damages and

injuries sustained by Plaintiffs and the Plaintiff Class Members.

       66. Neither the Plaintiffs nor the Mmbers of the Plaintiff Class, acting as a reasonably

prudent person, could discover that Defendants’ drywall was defective as herein mentioned or

perceive its danger.

       67. By reason of the foregoing, the Defendants are strictly liable in tort to the Plaintiffs

and Members of the Plaintiff Class for the manufacturing, processing, distributing, delivering,

supplying, inspecting, marketing and/or selling of a defective product, Defendants’ drywall.

       68. Defendants’ defective design, manufacturing defect, and inadequate warnings of the

dangers associated with Defendants’ drywall were acts that amount to willful, wanton, and/or

reckless conduct by Defendants.




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       69. Said defects in Defendants’ drywall were a substantial factor in causing Plaintiffs’

and Plaintiff Class Members’ injuries and/or placing Plaintiffs and Members of the Plaintiff

Class at increased risk of damage and/or harm.

       70. As a direct and proximate result of the defective condition of Defendants’ drywall as

manufactured and sold by Defendants, Plaintiffs and Members of the Plaintiff Class suffered,

and will continue to suffer, damages.

       71. By reason of the foregoing, Plaintiffs and the Plaintiff Class Members experienced,

and/or are at risk of experiencing, serious and dangerous side effects, as well as have incurred

financial damage and injury.

       72. As a result of the foregoing acts and omissions, Plaintiffs and the Plaintiff Class

Members require and/or will require extensive reconstruction and repairs, and will incur repair

and replacement costs, repairs for appliances, medical expenses, incidental, and other related

expenses. Plaintiffs and the Plaintiff Class Members are informed and believe, and further allege,

that Plaintiffs and the Plaintiff Class Members will in the future be required to pay for additional

repairs and/or replacement costs, and/or medical care, attention, and services.

                                           COUNT IV

                         FRAUDULENT MISREPRESENTATION
                     (Against Defendants Knauf Gips and Knauf Tianjin)

       73.     Plaintiffs, GREG & MEREDITH DESCHER and PENNY PARKER, individually

and on behalf of all others similarly situated, repeat, reiterate and reallege the preceding

paragraphs of this Complaint, with the same force and effect as if fully set forth herein.




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              74.      Defendants falsely and fraudulently represented to Plaintiffs, the Plaintiff

Class Members and/or the consuming public in general that Defendants' drywall had been tested

and was found to be safe and/or effective for use.

        75.         That representation made by Defendants was, in fact, false.

        76.         When said representations were made by Defendants, upon information and

belief, they knew those representations to be false and they willfully, wantonly, and recklessly

disregarded whether the representations were true.

        77.         These representations were made by Defendants with the intent of defrauding and

deceiving the Plaintiffs, the Plaintiff Class Members and/or the consuming public, all of which

evinced reckless, willful, indifference to the health, safety and welfare of the Plaintiffs’ and

Plaintiff Class Members herein.

        78.         At the time the aforesaid representations were made by the Defendants and, at the

time the Plaintiffs and Plaintiff Class Members, Defendants’ drywall, the Plaintiffs and Plaintiff

Class Members were unaware of the falsity of said representations and reasonably believed them

to be true.

        79.         In reliance upon said representations, the Plaintiffs’ and Plaintiff Class Members'

homes were built using Defendants' drywall thereby sustaining damage and injury and/or being

at an increased risk of sustaining damage and injury in the future.

        80.         Said Defendants knew, and were aware, or should have been aware, that

Defendants’ drywall had not been sufficiently tested, was defectively manufactured and/or

lacked adequate and/or sufficient warnings.

        81.         Defendants knew, or should have known, that Defendants’ drywall had a potential

to, could, and would cause severe damage and injury to homeowners.




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         82.    Defendants brought Defendants’ drywall to the market and acted fraudulently,

wantonly, and maliciously to the detriment of the Plaintiffs and the Plaintiff Class Members.

         83.    By reason of the foregoing, Plaintiffs and the Plaintiff Class Members

experienced, and/or are at risk of experiencing, financial damage and injury.

         84.    As a result of the foregoing acts and omissions, Plaintiffs and the Plaintiff Class

Members require and/or will require extensive reconstruction and repairs, and will incur repair

and replacement costs, repairs for appliances, medical expenses, incidental, and other related

expenses. Plaintiffs and the Plaintiff Class Members are informed and believe, and further allege,

that Plaintiffs and the Plaintiff Class Members will in the future be required to pay for additional

repairs and/or replacement costs, and/or medical care, attention, and services.


                                            COUNT V


                              FRAUDULENT CONCEALMENT

                     (Against Defendants Knauf Gips and Knauf Tianjin)

         85. Plaintiffs, GREG & MEREDITH DESCHER and PENNY PARKER, individually

and on behalf of all others similarly situated, repeat, reiterate and reallege the preceding

paragraphs of this Complaint, with the same force and effect as if fully set forth herein.

         86. At all times material hereto, Defendants misrepresented the safety of Defendants’

drywall.

         87. Defendants knew, or were reckless in not knowing, that its representations were

false.

         88. Defendants fraudulently concealed, and/or intentionally omitted, the fact that

Defendants’ drywall caused corrosion to air-conditioning and refrigerator units, electrical wires




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and copper tubes, and caused allergic reactions, coughing, sinus and throat infection, eye

irritation, breathing hazards, and other health concerns.

       89. Defendants fraudulently concealed, and/or intentionally omitted, the fact that

Defendants were aware of complaints regarding defects in Defendants' drywall and did nothing.

       90. Defendants fraudulently concealed and/or intentionally omitted the fact that

Defendants' drywall was negligently manufactured.

       91. Defendants were under a duty to disclose to Plaintiffs and the Plaintiff Class

Members, the aforementioned as it pertains to Defendants’ drywall.

       92. Defendants’ concealment and omissions of material facts concerning, inter alia, the

negligent manufacture of Defendants’ drywall was made purposefully, willfully, wantonly,

and/or recklessly to mislead Plaintiffs, the Plaintiff Class Members and/or the consuming public

into reliance and continued use of Defendants’ drywall.

       93. Defendants’ concealment and omissions of material facts concerning, inter alia, the

negligent manufacture of Defendants’ drywall was made purposefully, willfully, wantonly,

and/or recklessly to mislead Plaintiffs, the Plaintiff Class Members and/or the consuming public

into reliance and continued use of Defendants' drywall.

       94. Defendants knew that Plaintiffs and the Plaintiff Class Members and/or the

consuming public, had no way to determine the truth behind Defendants’ concealment and

omissions and that these included material omissions of facts surrounding Defendants’ drywall

as alleged herein.

       95. Plaintiffs, the Plaintiff Class Members and/or the consuming public, reasonably

relied on facts revealed which negligently, fraudulently and/or purposefully did not include facts

that were concealed and/or omitted by Defendants.




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       96. As a result of the foregoing acts and omissions, Plaintiffs and the Plaintiff Class

Members require and/or will require extensive reconstruction and repairs, and will incur repair

and replacement costs, repairs for appliances, medical expenses, incidental, and other related

expenses. Plaintiffs and the Plaintiff Class Members are informed and believe, and further allege,

that Plaintiffs and the Plaintiff Class Members will in the future be required to pay for additional

repairs and/or replacement costs, and/or medical, care, attention, and services.

                                           COUNT VI

                      VIOLATION OF THE MISSISSIPPI CONSUMER
                                   PROTECTION LAWS
                     (Against Defendants Knauf Gips and Knauf Tianjin)

       97. Plaintiffs, GREG & MEREDITH DESCHER and PENNY PARKER, individually

and on behalf of all others similarly situated, repeat, reiterate and reallege the preceding

paragraphs of this Complaint, with the same force and effect as if fully set forth herein.

       98. This action is brought to secure redress for the unlawful, deceptive and unfair trade

practices, perpetrated by Defendants, Knauf Gips, and Knauf Tianjin.

       99. Defendants, Knauf Gip’s and Knauf Tianjin's, actions and/or omissions as described

herein violate Mississippi law, which was enacted to protect the consuming public from those

who engage in unfair methods of competition, or unconscionable, deceptive, or unfair acts or

practices in the conduct of any trade or commerce.

       100.    Specifically, Defendants, Knauf Gips and Knauf Tianjin, misrepresented and

omitted material information regarding their drywall by failing to disclose known risks.

       101.    Defendants, Knauf Gip’s, and Knauf Tianjin's, misrepresentations and

concealment of material facts constitute unconscionable commercial practices, deception, fraud,

false pretenses, misrepresentation, and/or the knowing concealment, suppression, or omission of




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materials facts with the intent that others rely on such concealment, suppression, or omission in

connection with the sale and use of Defendants’ drywall in violation of Mississippi law.

       102.    Defendants, Knauf Gips and Knauf Tianjin, violated Mississippi law by

knowingly and falsely representing that Defendants' drywall was fit to be used for the purpose

for which they were intended, when Defendants knew it was deceptive, dangerous, ineffective,

unsafe and by other acts alleged herein.

       103.    Defendants, Knauf Gips and Knauf Tianjin, engaged in the deceptive acts and

practices alleged herein in order to sell Defendants' drywall to the public, including Plaintiffs and

the Plaintiff Class Members.

       104.    Said acts and practices on the part of Defendants, Knauf Gips and Knauf Tianjin,

were and are illegal and unlawful pursuant to Mississippi law.

       105.    As a direct and proximate result of Defendants, Knauf Gip’s, and Knauf Tianjin's,

violations of Mississippi law, Plaintiffs and the Plaintiff Class Members have suffered damages.

Plaintiffs and the Plaintiff Class Members are entitled to compensatory damages, equitable and

declaratory relief, punitive damages, costs and reasonable attorney's fees.

                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs, GREG & MEREDITH DESCHER and PENNY PARKER,

and Plaintiff Class Members demand judgment against the Defendants, jointly and severally, as

follows:

     a.    An Order certifying the Class, appointing Plaintiffs, GREG & MEREDITH
DESCHER and PENNY PARKER, as Class Representatives and appointing LUCKEY &
MULLINS, PLLC, and PENDLEY, BAUDIN & COFFIN, LLP, as counsel to the Class;

       b.      Equitable, injunctive, and declaratory relief;

       c.      Damages in an amount to be determined at trial;




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       d.      Pre-judgment and post-judgment interest at the maximum rate allowable at law;

       e.      Treble, exemplary, and/or punitive damages in an amount to be determined at
               trial;

       f.      The costs and disbursements incurred by Plaintiffs and Plaintiff Class Members in
               connection with this action, including reasonable attorneys’ fees;

       g.      All statutory damages;

       h.      Disgorgement of Defendants’ profits from the sale of drywall;

       i.      Reimbursement for all costs and expenses incurred in the repair of any purchase
               price paid, including, but not limited to, insurance co-payments, interest on these
               amounts from the date of purchase, attorneys’ fees and costs, non-pecuniary
               damages, as well as any other legal or equitable relief to which Plaintiffs may be
               entitled;

       j.      Such other and further relief under all applicable state and federal law and any
               other relief the Court deems just and appropriate.

                                 DEMAND FOR JURY TRIAL

       Plaintiffs, GREG & MEREDITH DESCHER and PENNY PARKER, individually and on

behalf of the Plaintiff Class Members, hereby demands a trial by jury as to all issues so triable.



       RESPECTFULLY SUBMITTED this, the 20th day of June, 2018.



                                              GREG & MEREDITH DESCHER and
                                              PENNY PARKER, Individually and
                                              on Behalf of Others Similarly Situated, Plaintiffs


                                              By:             /s/ Stephen W. Mullins
                                                              STEPHEN W. MULLINS




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